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Exhibit B
(Deposition of James Pringle, Relevant Excerpts)

 

 
 

 

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UNITED STATES DISTRICT COURT
DISTRICT OF MAINE

BRYAN REPETTO,

Plaintiff,

ST. MATTHEW'S UNIVERSITY,
ST. MATTHEW'S UNIVERSITY

Defendants.

DEPOSITION of JAMES PRINGLE, taken pursuant to

notice dated September 17,
Murray, Plumb & Murray, 73
September 19, 2008, commenc
Packard, Registered Diploma
and for the State of Maine.
APPEARANCES:

For the Plaintiff:

For the Defendants:

Also Present:

INC.,
(CAYMAN), )

 

) CIVIL ACTION

} Docket No. 08-CV-101

and }

2008, at the law offices of
Pearl Street, Portland, Maine, on
ing at 9:03 a.m., before Cindy

te Reporter, a Notary Public in

Barbara L. Goodwin, Esq.

Daryl J. Lapp, Esq.

Gail E. Cornwall, Esq.

Bryan Repetto

 

 

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L MDs, who were expert in specific subareas of 1 anybody else available to do that anyway so that was

2 pharmacology. An example? 2 perfect.

3 Q Yes, please. 3 I picked the GU diseases. And thexe were a number
4 A In pharmacodynamics and kinetics, and how drugs work, I 4 of other things over time that -~- I taught

5 went down to UNE because I had already been going 5 gastrointestinal drugs ‘at ona point. Those are the

6 there. I knew those people quite well. And Ed Bilsky 6 main ones.

7 who is the chief of research there was willing to teach 7 All right. So if you were asked in May of 2600 to put
8 those subjects. 3 this together, when was the first -- well, when did it
9 TE you want somebody who knows the latest in 3 all get pulled together, when did you start teaching?
10 Cardiac drugs, you might think about getting a io Wall, I started ahout two weeks later. So we started
12 cardiologist to do that. So who is the most attune to a1 soon. We had a small class. I think there were --

12 the latest in cardiac drugs, probably the cardiac 12 don’t hold me to the numbers, might have been 35

13 fellows at Maine Med or Mass General or wherever. 13 students in that first group. I don't remember

14 And I had them from both places over the years. 4 exactly. i know it was a small group.

15 They change every three years. So the way it worked 35 And so the first semester that we taught, I taught
16 out is Carl Hackmiller was the chief fellow at Maine 16 what I had resources to teach as EZ went along. and i
L? Med in cardiology, and I asked him to teach cardiac 17 was on a running -- it was a run because I had to gab
18 drugs, bring us up to date. 18 somebody to do cardiac because this guy with GI is
ig When he finished his fellowship, went out into ig about to finish. And by the end of that semester, I
20 practice, then the next guy who became chief became the 2a had a whole faculty put together. And we didn't have
21 teaching fellow. We did that for the entire time I was 21 any gaps that I know of.

22 involved. 22 Okay. So you started teaching, what -- that was your
23 Okay. So that wouid or would it -- 23 first job was to put this program together, what was
24 A That's how Z did it. ae your next job?
25 2 -- explain why when I look at the syllabus for the 25 With a title? YX mean there were ail kinds cf jobs
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a pharmacology course, it lists you as a director, and 1 going on. Are tha classrooms big enough, do we hava a
2 then there are many doctors listed underneath? 2 good student affairs department, all of that had to

3 A Right. 3 come together, Eut my next job if you're asking ma

4 Qa Okay. So that's because that was your approach was to 4 when did F become tha dean there, that would have bean
5 use many dectors? 5 a year ar se later.

6 A Exactly. That was the approach of Case Western Reserve 6 What wag your actual title as dean?

7 where I went to medical sehool. It's the case of every 7 Initially, it was associate dean of basic science.

8 veputable medical school that I know of in Worth 8 Was that for the -+ were you the associate dean for the
4 America. 3 entire medical school or for just the Maine campus?
10 Qa So did you teach any classes or -- 10 Well, I was only responsible for tha Maine campus, but
1 A Uh-huh, 12 I -- I'm a urologist, I'm not -- I den't hang my hat on
12 a -- did the specialists teach them? 12 titles. I was responsible for the functioning of this
13 A Well, I'm a specialist. 23 program. And they gave me that title. I guess I was
24 Q Or both, I guasa? 14 associate dean cf thea entire operation. I was the only
15 A I'm one of the specialiats. 15 associate dean that I'm aware of in the St.
16 Q Okay. So you taught? 16 Matthew's -- hut my responsibliity waa primarily in
1? A I picked out, being the chief, things I like most. i7 Maine. ,
18 Q Fair enough. 18 Okay. And that's sert af what I was getting at, you
19 A The thing I knew best. 19 ware talking about area the classrooms big enough?
20 g So what did you pick? 20 Yeah.
22 A Tropical medicine. My wife and E spent a considerable aL So did you have -- even before you got the title, ware
22 time in the Carribean doing missionary work with people 22 you essentially running the Maine program?
23 there. 80 I've always had an interest in it. We 23 No.
a4 worked with the Rockefeller Foundation down there for a 24 Who was doing it before you were?
25 number of times, so I picked that. There wasn’t 25 Dr. Abbott. Donald Abbott. °

 

 

 

4 (Pages 10 to 13)
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1 Do you know why ke left? L effort.

2 A Iomean he's still here. You mean why did he give up 2 Q Okay. When did the Maine -~ first of ail, where was

3 the job? 3 the Maine campus?

4 Ee's still in Maine, why he gave up the job? 4 A In Windham.

5 A You'll have to ask him. 5 Where exactiy?

& 9 Okay. So you tock it over from him about a year later, 6 A It was om -- let's gee, what was the address, 8 -- what
7 so spring af 20017 7 was it, Bryan, 804 --

& A I think go. 8 MR. LAPP: If you don't remember, just say

5 e Okay. How long did you stay with St. Matthew! s? 9 you don't remember.
19 A 22 gemesters. 16 THE DEPONENT: 800 something Roosevelt Trail,
1 9g How many gemesters in a year? AL Windham, Maine. Right on the main drag of Windham.

42 A Three. So it was seven years plus one semester. 12 Q (By Ms. Goodwin) I'm asking partly because it's very
13 Q Flus one. All right. And were those all with the 33 Jocal to me, and I'm curious.

i4 Maine campus? 14 A T£ you know where -- if it's that local, do you know
25 a That's where T was the whole time, yes. 1s where Applebes's is?

16 Q Okay. Were you ever involved with the Miami campus? 16 Q Yes,

17 A Yes. 17 A It's right next door, that brick building that says for
18 9 When was that? 28 rent right now, or lease, whatever, it's --

1¢ A The Miami effort started about I think 2007, September. 19 Q That's it?
20 The person to ask when Miami campus was born would ba 20 A Right there.

21 somebody other than me. But I can tell you my -- if 21 9 Okay. Faiz enough. And you mentioned that the new
22 your question is -- 22 owners wanted to transition dewn to South Miami. Hell,
23 MR. LAPP: When were you involved with it? 23 when did the Maine program, Maine campus close?

24 (By Ms. Goodwin) That's all, all you can tell me? 24 A I think eassentialiy it was done when I was done, the
25 A Right. Because it's a long story. I was involved aa and of September, or at the end of August, ‘07.

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z primarily from January of "97 through my rasignation in 1 o Okay. So Maina was still renning while you were

2 September of '07. 2 working with the folks down in Miami?

3 Q Okay. What was -- 3 A Yeah. Yeah.

4 A Iomay have made a couple trips there in December of ‘06 4 2 And you said they ware leaving Maine because it was

5 as well. 5 cheaper?

6 Qa Again, not going to hold you toe exact dates -- 6 A You'll have to ask them that to be honest with you.

7 A Okay. 7 Q Did they -- did they ever give you a reason why they

8 Q What was your involvement with the Miami campus? 8 ware closing Maina?

3 A My involvement there was to -- well, dim, this Maine 3 A Yes.

io effort has been fantastic, woa'rea new owners now, and wa 10 Qo What did they tell your

11 think we can do it more cheaply in South Miami. And 1 A Too expengiva. I'm baing honest with you, it's tao

12 we're offering you the job there, would you be willing te expensive, we can do it more cheaply in Miami. Over
23 to mova to South Miami. Took ma 13 seconds to say 13 time they may have come up with soma othar reasons, but
ia absolutely not. = have no desire to ever go to Miami 14 that was always what they would hit me with.

15 whether it's gouth or north. 15 Q Okay. Tell ma about your new medical school?

16 And but £ said I would be willing to take my 16 A My new -- where I am now?

17 program -- well, let me start over. They asked me if I i? Q Yes.

18 would be willing to take my ideas and my curriculum te 18 A What do you want to know?

i393 the Miami area. EI said suxe, I can do that. 19 Qg I want to know -- wall, did you join them, it's
20 So the trips I made to Miami were to go down and 26 university o£ Medicine and Health Sciences; is that
21 meet the people that were there. They came up once, I 21 right?

22 think. And instruct them on how toa put -- how wa had a2 A Uh-huh.

23 done it in Maine so successfully and hope that they 23 Q They're centered in St. Kitts?

24 eould do the same down there. 24 A {Deponent nods head.)
25 Once Z had done that, I was Finished with that as 2 When did you join that school?

 

 

 

5 (Pages 14 to 17)
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L A I£ joined means when did I get paid for the first bit L A Right.
2 of effort was April of °G8. 2 9 Are you teaching?
3 @ Was thera effort before you got paid? 3 A Right -- I haven't yet.
4 A They started recruiting me or asking me if I was 4 e Will you bet
5 interested in getting involved again in an offshore 5 A Iwill be starting Monday.
6 medical school probably in February sometime. Middle 6 Q What ara you teaching?
7 o£ winter when I was open to almost any suggestion. 7 A This go-round, I have five subjects I'm going to cover
Did they lvre you with a trip to St. Kitts? 8 in three hours, which is ridiculous, but I will be
9 A Yes, but I have resisted. I've never been there. have g covering urinary tract infections, benign prostatic
18 mo desire to go. Believe me, they think that that's a 19 hypertrophy. It's a reproductive committee again. And
il carrot, but they're talking to the wrong person. But a2 related subjects, urolegically. Urinary tract, renal
12 what else can £ tell you about it? 12 function related subjects.
13 What is your position there? 13 2 Bo you have an affiliation with St. Joseph's College
14 A t'm -- J think I have the same -- it's just being 14 with your new school?
15 worked cut. a5 A Ro.
16 Q Okay. 16 o hike they did at St. Matthew's?
17 A I'm thse program director, and whether ifm the associate 1? A No.
18 dean again or not te be honest with you, I don't know, ig Q What made you decide te get invelved with the new
19 but that was something they -- deesn't matter to me, I 19 school?
2a couldn't care legs. But I'm putting together a program 20 A You want the truth? I couldn't stand being retired --
2i similar te, but even better than St. Matthew's, I hope. ai Always.
22 2 Okay. Has it -- you said it was just getting put 22 A -- this past winter. I mean, that's the truth. I just
23 together? 23 had ncthing philosophical, nothing that I think I'm
24 A Uh-huh. 24 better than anybody else teaching. I am 69 years old,
25 o I assume this is going to be a Maine campus? 25 and I need something to do. And E love teaching.
Page 19 Page 21
i A Well, wa'll have fifth semester oniy here which is 2 Q That's really a better reason than most. There is a
2 different than St. Matthew's program. 2 De. Jexry Thornton listed in the North American
3 What semesters of St. Matthew's did you have in Maine? 3 administration, is if the game Dr. thornton from St.
4 A Fourth and fifth. 4 Matthew's?
5 Q Okay. So this is going to be fifth only? 5 A Say the quastion again.
5 oA Right. 6 pr. Thornton?
7 Q Do you have -- weli, has the campus opened yet? 7 A Yes.
& A Yes. 8 Q Dr. Jarry Thornton is part of the administration af the
3 Q When did it open? 5 new school, is it the same person, the same
16 A About two weeks ago. 10 Dr. Thornton --
11 Q Students there? 11 A Same that was --
12 A Six students. 12 Q -« as you worked with at St. Matthew's?
413 Q Are these -- I know it'ts a new achool, is it new enough i3 A As far as I know.
14 these are transfer students? 14 9° Have you talked to him since joining the new school?
45 A Right. The first year ali the students in Maine of the 15 4A I have talked to him once back in April.
46 fifth semester were transfers. Then the first -- first 16 o Wag he part of the effort to recruit you?
17 first semester -- I need something to drink. 17 A Yes.
18 MR. LAPP: Why don't we take a break. 18 @ Bo you know where he is Located right now?
ig (Recess at 9:25 a.m., to 9:30 a.m., after which. the 13 A No. :
20 following proceedings transpired.} 20 Q Okay. Where is the campus for the new school?
21 9 {By Ms. Goodwin) We were with your new school. Ali 2i A 110 Free -Street, Portland, Maine. You mean the Maine
22 right. Soa the students started six weeks ago, are 22 effort?
23 you «+ " § 23 Q ¥es, the physicai --
24 A Two weeks ago. 24 110 Free Street.
25 Q Two weeks ago, six students? 25 o I know where I'm going for lunch.

 

 

 

6 (Pages 18 to 21)
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4 You know that building? That's the old Blue Cross, £ 9 (By Ms. Goodwin) Sc to the best of your knowledge, is
2 Blue Shield building. 2 that why SMU set up its Maine campus?

3 Okay. All right. I'm going back to St. Matthew's 3 A To the best of my knowledge.

4 University. Tell me about -- tell me about the 4 o Okay. Do you know how long before that SMU students

5 relationship that St. Matthew's had with St. Joseph's 5 were working towards this master's degree?

6 Collage? 6 A Ko.

7 I'm trying to -~ there’s so many ways to come at that. 7 o Okay. But that -- the dual degree idea was in place

8 The relationship was one that was based on the presence g before the Maine campus paople were deing that?

g of a master's degree that was health care related, 4 A Yes.
io master's in health service administration. 40 So to ~- if there are -- well, do you know if there are
il If a student at St. Matthew's chose to and il written agreements between St. Joseph's and St.

12 qualified based on St. Joseph's criteria, they were 12 Matthew's?

13 ealigibla to work toward that master's degree. St. 13 A I don't know.
da Joseph's College required that part of that effort be 14 Ckay. Was there a requirement that students on the
is done on campus. So this is not -- part of what I'm 15 Haine campus of St. Matthew's aiso enroll in the St.

16 telling you now is was not something I put together, 16 Joseph's program?

17 this is befors I get involved. 17 A Yes.

1s So St. Joseph's Collega being an American 18 Qo Why?

29 accredited university is eligible for federal ioans. 13 A Because the state of Maine decreed that the fourth

20 So students who are offshore are not aligible unless 20 semester was basic s¢ience, which it was. Therefore,
21 that changed within the last two months, and it may 21 it fell under the Pepartment of Education's, you know, +
22 have, I'm told. Eligible for Stafford leans. 22 turf. So therefore, for the state of Maine to allow a
23 So a student who elected to do the extra work for 23 student ¢o® be in Maine being -- for any, you know,

a4 the master’s degree, and theoretically needed extra 24 medical reason, they had to first be enrolled in St.

as finances could enroll in the master's program at 26 Joseph's. It was that fourth semester basic science

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1 St. Joe's and become eiigibia for U.S. federat loans. i plece that required them to be enrolied at St. Joe's to
2 Somewhere along the way, a8 I said before my 2 be here.

3 involvement, somabody got the idea that well, if we're 3 Fifth semester students would not have been required --
4 going to be up here doing the master's anyway, I wonder 4 A Pure fifth semester students would not heave been

5 if we'd be allowed to teach some medicine while they're 5 required to ba St. Joe's students,

6 there. 6 Q Arve you aware of any SMU students whe were not pure

7 Bob McGuire, wha dropped dead last dune, and last 7 £itth semester students who were allowed to drop the

8 night I was at his memorial service at St. foe's, a Bt. Joe's program?

9 chairman of the board of trustees at St. Joseph's, said 3 A Say that again.

10 to Don Abbott, I'm told, this is just what I'm told now 20 Q So you said pure fifth semester students --

ai becauge IT wasn't there. Why don’t we ask the ii A Right.

12 Department ef Education of the state of Maine if you 12 Q ++ wouldn't have to stay enrolled at St. Joe's?

13 Can teach some medicine up here, and we'll then recruit 13 BA They would -- pure would ast.

14 students -- St. Joseph's will have a captive audience 14 Q Would not?

15 for the master's degree. You'li be ahie to taach 35 aA If they had one fourth semagter course, they were not
16 medicine if you can get somabody to teach it and on the 16 aligible to be here theoretically that I know of.

17 medical side. And it will be just a great synergistic 1? Q ALi right.

18 arrangement. And that's hew it went. I don't know if 18 A That was a rule.

is that answers your queation. The specifics in there -- 19 Q Theoretically --

29 MR, LAPP: If you don't give her what she 20 A E'm just saying, df -- that in fact is the way it

21 needs or wants, she'll let you know. You just -- 22 was -- that was a rule. That was the way wa were -- wa
a2 {By Ms. Goodwin) Believe me. 22 functioned.

23 MR. LAPP: Answer the question and she'il let = - | 23 o So my eriginal question was whether you were aware af
24 you know, 24 any St. Matthew's student who was not one of these pure
a5 THE DEPONENT: Okay- 25 fifth semester students?

 

 

 

7 (Pages 22 to 25)
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1 A Yes. 1 I can't remember number of square feet over there,
2 a Whe was allowed to drop the St. Joseph's program? 2 but it was in excess of 10,000 square feet as E

3 MR. LAPP: And stay in Maine? 3 remember. I think it was 12,000 square feet. We had a
4 Q (By Ms. Goodwin) And stay in Maine? 4 library there. Large parking lot behind that building,
5 A So they're taking four semestere -- 5 between the two buildings.

6 Q They're taking at least one fourth semester class and 6 G Was there any full-time faculty at the Maine campus?

7 they're staying here? 7 A Full-time?

8 A Not to my knowledge. 8 Q Full-time, university employed?

3 Q Would you have been the one to maka that decision? 3 A I was thera full-time,
10 A Sorry? 10 Q Other than --
Li ° Would you have been the one to decide whether they ii A Define, what's full-time? I kad a whole faculty that
12 could stay assuming the situation ever existed? 12 was there constantiy. But were they there every day
1300¢« If it did -- a3 eight hours a day, mo, I was the only ona.

14 MR. LAPP: Object to the form of the a4 Dr. Randall was there, dean of clinical selence was

as question. Go ahead. 15 there most every day, worked eight hours or so.

16 THE DEPONENT: Say that again. 16 Librarian was there. Does that answer your question?
17 0a (By Ms. Goodwin) x'm just wondering -- i7 Tt guess --

18 RK All kinds of gray areas. 18 A It was like a college, the professor would come and do
19 @ -- if there had been the student who was still taking as his teaching or her teaching, and he'd maybe stay,

20 fourth semester classes, but wanted to drop St. 40 maybe go home.

21 Joseph's -- first of all, did anyone ewer ask te do ai ° Sure. And I guess what I was asking, the approach you «
22 that? 22 described for your class involved folks who would come
23 A Yes. 23 in and teach just sort of this one specialized area,

24 Q How many students? 24 were they considered faculty, adjuncts, how were those
25 A I don't remember. a5 things classified?

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1 2 More than a handful? i A They ware faculty. Now whether they were academic

2 A Ne, about a handful. 2 full-time equivalents or net --

3 Q Okay. Who would they approach with that request? 3 There's the term I was looking for.

4 A Probably approach me first, but the final arbiter on 4 A Somewhere -- I don't -- toe be honest with you, I don't
5 that would have been the chief of graduate education 5 know what those were for each teacher, they wera ail

& fox the state of Maine, which ia Harry Osgood. If 6 different depending on number of hours they taught, but
7 you're asking me would I break the rule, oc. 7 the ones who wera the pximary teachers, pathology,

8 Q I just wondered whoa had the authority to make the 8 pharmacology, they were on our committees, mat

9 decision, it sounds like you first for St. -Matthew's, 9 regularly with ma. If you're asking me did they just
it but algo you would have needed DOE approvalt io hover over there down the hall on the right like they
ii A I covered my «+ constantly. 21 did undergraduate school, no,

12 o As does everyone who works with the Department of 12 o Okay.

13 Education. Tell me about tha Maine campus of St. 33 A = know I'm not supposed to expound on this, but we went
14 Matthew's, and now I mean the physical? 14 to them aC Maine Medical Center for much of the

15 A You mean the physical? a5 pharmacology so you have a clear picture. Whey didn’t
26 Q Yes, what was availabie, what was tha physical 16 all come to us. Some of them are very busy practicing
1? structure like? 17 physicians ag well as research people. So my

1a A We had two buiidings, one owned, one lsased. Two major 1g philosophy was 1'11 bring my students to you if you'll
1% classrooms, each would hold about 106 atudenta, A 293 teach. 5o # good deal of pharmacology was taught at

20 separate office, smali office complex for the business 20 Maine Med.

ai manager, my office, and ours admin, and partially used 21 Q Were you_-- you wers on the admissions committee;

22 by the student affairs department. 22 correck?

23 We had a clinical skills lab upstairs in that -| 23 A No.

24 building next to Applebee's that we used every week in 24 You were not.

a5 the fifth semester. 25 A Well ~-

 

 

 

& (Pages 26 fo 29)
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L 2 Were you ever involved in admissions? 1 And that teacher would look and say yeah, I

2 A Give me a Gate. 2 covered that sama stuff, and he would use them or not

3 Q Evar for St. Matthew's? 3 depending on -- or call me back and say you have to

4 A Yes, I was involved for about three semesters in 2096. 4 drop that question about such and such a drug because
5 All right. I want to talk a little bit about sort of 3 Joe didn't talk about” that very much.

5 the mechanics cf class structure, your class structure 6 So we bad an ongoing either through emails or

7 X guess. Teli mea how you -- well, bow you put together 7 video conferencing cz audio hookups, this went on

8 the syllabus and the scheduie for class? 8 weakly when Bryan was thera. So it was a challenge,

9 A The syllabus? 3 but we made it one college, not two.

16 Q Let's focus on the time that Mr. Repetto was at school? 10 Q Were you aware of Maine -- the Maine campus having a
QL A Okay. 1h reputation ef being more challenging, more academically
12 Q 2005, 20067 12 Ghallenging than the Cayman Islanda campus?
13 A Okay. We'll have Mr. Repetto would £121 in the gaps 13 A ‘Was I aware that people thought that?

14 here, but I would say -- 14 @ Yes.

45 Q I imagine he'll] he asked later. i5 A Yes.

16 A Let me just give you the general idea how wa did it. 16 Qo Bid you think that?

i? Since we had £ifth semester, fourth and fifth semester 17 A He.

18 students in Maine and on Grand Cayman at the same time, 18 9 Bo you know why -- well, yeah, do you know why people
13 we would start out -~ between semesters, we had is thought that? Only if you know?

20 meetings. Well, we had them during semester and 20 MR. LAPP: I’m going to object to the form cf
21 between semesters, too, and we had to make sure we had 21 that,

22 one university, not two. 22 THE DEPONENT: Why people thought that.

23 So if it was pharmacology, it was either 23 Well, wherever you are, if you have a struggling

24 Dr. Adamec or Dr. Goutta down on Grand Cayman who t 24 student, they're going to tell you it?s harder there.
Bs would meet with, and we would put together the 25 But they really don't know if it is or not because

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z subjects, not necessarily, but pretty close to the same 1 they're not at the other place. So I didn't put much

3 order, but not exactly the same order. Depends on if I 2 credence into that to be honest with you.

3 couldn't get the cardiologist in one month, I'd get it 3 o (By Ms. Goodwin} Once a student had come to the Maina
4 the next, so I would call Dr. Nasser. Dr. Nasser ig 4 campus, did they have the option of going back to tha
5 the dean in Grand Cayman, I'd say E can't gek the 5 Cayman campus?

6 cardiology guy until the first week of November, so put 6 A Yes. I'm just trying to think before I answer, bat

7 that part on the next test, mot on this test. And he 7 this ig not jail up here. You can go, this is graduate
8 would shift his faculty around. B school.

9 So the big effort was to coordinate the teaching 5 o Bo you know if anybedy ever did return to the Cayman

10 between the two places. In Psych 101 whera you want to 10 Islands?

1 college, where I went to collega, I'll put it that way, 12 A Yes. Quite sure they did. Very rarely, but a few.

12 there might have been 15 different teachers. They ail 12 9 Gkay. Tell me generally speaking about processes in

a3 had the sama goai in mind, but if you're saying T kad 13 place if a atudant is unhappy with a grade in a course?
la all 15 of those people teaching the exact same thing on 14 R I wag unhappy a lot.

15 the exact same day in the exact sama way, you're lying, is Q Aftex they complained to their friends, tell me --

14 nobody can do that. 16 A At the end of a semester?

1? I€'s the same thing in this real world. So we did 17 Q At the end cf the semester, ZI don't know if there were
28 the best we could to make sura that we were teaching 28 processes in place actually for -- if they were just

19 the same thing with different teachers, two different 13 unkappy with an exam grade, was there a procese for

26 places at the same time with the same goal in mind. 20 that as well?

2i The exams were very often exactly the same. That 21 A uh-huh. Yes.

22 was a challenge because a doctor in Maine would put his 22 Q All right. Let's talk about the exam process first and
23 10 questions down, I would send them down to Cayman. I. { 23 then the entire class process?

26 had to be careful how I did that because the email kept 24 A Very often a student would come te me complaining that
25 getting broken into. We'd fax them usually. 25 they thought the test was too hard. And my standard

 

 

 

§ (Pages 30 to 33)
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Page 38

He was taking your pharmacology course?

Iothink so. { don't remember him sitting there, but he
wad in the class. So yeah, I was doing all these
things at that time, I was associate dean of basic
science and teaching.

Did you hava any interactions with him outside of the
classroom during tha -- let's -~ ha was there for three
Bemesters starting in January of '06, during that first
semester, do you remember any interaction outside of
the classroom, did ha coma meet with you, talk about
subject matter?

I would bet if my lifes depended on it that Bryan and I
talked in the parking Iot many times. fF don't know if
ha remembers that. =f that's what you mean outside tha
classroom of him coming into my office, so the answer
to your question is, probably. I don't remember. I
talked with ail my students almost -- at least waskly
if net daily.

All right. Leaving out say the casual hellos, ara wa
talking about substantive conversations about school at
least once a week?

Give you some of the precasses.

That would be great.

MR. LAPP: I think the question was whether

you remembered having substantive conversations with

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Page 40

pharmacology. Ha was passing genetics, not by much,
but ha did pass it. Patiant/Doctor 4, he passed. I
don't remember the grade. Bryan tended to pass things
in the 70s, but he passed.

So while he's passing those two things, ha's
faiiing the two very important basic subjects, if
you'ra looking at getting your boards, path and pharm.
80 T would have discussed that with him and asked him
what wa could do to changa his study approach to those
subjects to help him. ,

Probably also, I don't remember the date, I have
it somewhere in my files I suppose, but at St.
Matthew's, one of the other things I routinely did is I
looked to sea -- there was always a cutoff date bayond
which you were not allowed to drep a course.

So I’m not -- I can't ramember whare cur meeting
was relative to that, you have to aither pass or drop
it, ox you'il gat -- it's up te you if you want to get
an For W. Personally, I'd go for the WwW.

I mean that would be -- if mathematically, you
need to get 195 om the next two tests, I think maybe --
but it's up te you, So that’s my general approach at
the midterm, and I did that with every student who was
failing any courga in the middle of every tern.

Do you remember any specific advice that you might hava

 

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Page 39
Bryan that first semester.

THE DEPONENT: Yes.

MR. LAPP: Okay.
(By Ms. Goodwin) What do you remember?
Tha one substantive one I remember is at midterms.
Every student who is failing a course in the middle of
every term I met with one on one,
Okay. What can you tell me about that meeting?

Nething much specific. I can teil you what my normal

routine was,
Okay.
Bryan was failing both pharmacology and pathology at
the midterm first semester. Not only failing it, but
failing it badly. He had already seen student affairs
I think twice at that point. His first exam in
pathology I think was 44, and maybe slightly better
than that in the other course, but EF may have those
backwards.

But so my usual routine was to say Bryan, how can
I help you. I mean, what can we do to improve your
study technique, what are you doing that we can change
or what are you doing. How are you approaching thera
subjects.

He was taking genetias, which is a -- as a

personal statement, that's tougher for me than

 

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Page 43
given Bryan at the tima? That you did give Bryan at

the time?
Other than what I just gaid, no.
Okay. Was there an acadamic remediation program at St.
Matthew's while you were there?
What do you maan by that? That's not a word I like.
Remediation. Academic remediation, I don't know.
Okay. dust so wa're both talking about the same thing,
certainly don't need that, Bary], but --

, MR. LAPP: JI don't need my own copy.

MS. GOODWIN: Ali right.

{Pringle Deposition Exhibit Number 1 vas marked for
identification. }
(By Ms. Goodwin} I'm going te give you the official
one. Do you resognize what's been marked as Exhibit 17
Sorry?
De you recognize that?
Apparentiy, yes. J maan yes, the student handbook,
suTe.
Iowant to ask you ta turn to Page 28?
Let me read it.
There's a heading of academic remediation, just take a
look?
Okay.

Do you kmow 1f ~~ well, was -hat program of academic

 

 

11 (Pages 38 to 41)
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1 from St. Hatthaw's? a ¢ Ware any of them readmitted immediataly?
2 A How many -~ what percantage of students flunked? 2 aA No, not to my knowladge., You mean without going away
3 2 Yes. 3 and then coming back and starting over?
4 aA fut of achooi? a qQ Right.
5 Q Let's go with basic aciasces, who fivnked out during 5 A Not to my knowledge,
5 those first four semastara? 6 Q Ware you invoivead in writing the student handbook?
7T a I don't know to be honest with you. f could quegs, but 7 a No.
2 ft don't know. a 2 How about the Maine catipua manual?
3 MR. LAPP: No, we don't guess. 9 A Maina campug manual, yaah, I wouid have had input on
10 a {By Me. Goodwin) Were you ever -- is there a decision 10 that.
12 process with regard te academic dismissal or ig it -- I ii 2 Would you have written it or juet bad input?
i2 guess I'm agking, is it an autematic function, or is yz = 6Aé Just input ag 4 team effort.
13 thera a decision that oasds to be nade? 13 Q Who alse was on the team?
14 006€<A There's a decision -- & student has made the decision V4 A T doen't remember to ba honest.
15 by how they do in the course. We just anksit the 415 o Okey.
16 grades to the registrar who is in Orlando at that tine. 16 MS, GOODWIN: I need a quick break if that's
17 She then would let the daan know who failed and who 17 okay.
19 didn?t. That's as far ag I know. 1a HR. EAPP: Of course.
13 You say the dean, do you mean -- 1s (Receaa at 10:21 a.m., To 10:28 a.m., after which the
20 Dr. Naseer. 20 following proceedings transpired.)
21 a Okay. Could Dr. Nasser make a dacision aot to have a 21 Q {By Ms. Goodwin} Are there any other specific
22 student be academically dismissed? Poor grammar, 22 discussions with Bryan about hig progress at gt.
as but -- 23 Matthew's that you remember that yeu haven't told me
24 a Could he, I don't know. Maybe. I don't know. 24 shout?
250 06¢<49 are you aware of kim -- 25° =A To have no secrata, but can I remember is the question.
Page Si Page 53
i a No. 1 Bryan would have 4 better recollection of that to ma.
2 2 -- aver doing sof 2 That's not my position to say that, but I've met with
3 A Ne, ZT don't. I'm oot. 3 wy atudents as E'va already said ragularly, especially
4 9 You mentioned earlier the academic orievance committees 4 those that I was worriad about. And go -+
5 and the process for appealing? 5 MR. LAPP: She's juet asking if you
§ aA Uh-huh. 6 remembered any specific conversation, if you dicn't,
7 2 Would that same process be used to appaal an acadamic 7 that's fine, if you do --
a dismigsal, if you know? 8 THE DEPONENT: Let me think about it a
a Yes. Yos. I think so, 3 second.
16 Area you aware of anybody aver using if to appeal an 36 (By Ma. Goodwin} Okay.
11 academic dipmiggal? il Idon't. << doen't remember any. Doasn't maan I didn't,
12 az Someone who failed out, Elunked out and than used that 12 but I don't ramembsr any other specific,
33 te aee Lf they covld gat back in? 13 @ Fair enough. If EF start talkiag about the California
4 9 Yes, 14 report, and tha SHU rebuttal, you know what I'm talking
is a I'm not -- I don't recali anyones doing that. 15 about?
16 Do you recall anyone who had been academically 46 A Yes.
17 dismissed who was then readmitted to St. Matthew's? 17 Okay. Were you involved in St. Matthew's dacigion to
18 a At what time? ‘Immediately? Or after thay'va gone away 18 Beek approval from the state of California?
is and then come back? 13 aA Bo. Let me -- you're asking me, am I oma of tha people
20 @ Zithaer. 20 who decided ws should go for California7
21 A Well, yas. 21 o Right.
22 q How many? az A No.
a3) =é=+&K A fav. 23 a Do you know if SMU had been approved -- at the tina
2a Q Any of them inmmediata? 24 they decided to go for California, were thay approved
25 A any what? 25 in any other states?

 

 

 

14 (Pages 50 to 53)
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L A I balieva we'd already been approved or ware soon to be i 2 How Tong were they there?

z approved by Hew York. Florida approved somewhere in 2 A Two days I remember, Pretty sure it was two days.

3 there, somewhere in that time Frame. That would he the 3 G Did you go -- as the host, did you go with them when

4 only other two that I know. 4 they went to the various locations?

5 ° Salifornia sent some people for a site visit to the 5 A Yes, +

6 Maine campus? 6 Q bid they ask you questions?

7 A Yes. 7 A Yes.

8 Q Wexe you involved with their site visit? 8 9 List every one -- no, just kidding.

3 A Yes. 3 MR. LAPP: That was a great answer.

20 2 Tell ma about it? 2a THE DEPONENT: Did I get the answers right, I
11 A dust generally? il don't know. They asked me questions.

12 Q How you were involved, your interactions? 12 MS. GOODWIN: dust so you have them in front
13 B Iwas the host as the associate dean for the 13 of you.
14 accreditation committee. That was mada up of three 14 {Pringle Deposition Exhibit Numbers 4 and 5 were marked
is people. Dr. Simon who is an endocrinologist, retired 15 for identification.)

i6 from the University of California at San Diego. And a 16 Q (By Ms. Goodwin) I'm going to ask you to take a iook
17 lawyer for the state of California Medical Association. 17 at what has been marked as Exhibit 4 and Exhibit 5, and
18 And a lady named Hadnot wag her last nama, who was part 18 tell me if you recognize them?

19 of that association. 19 A No on that one. ,
20 Those three people came, and what we did routinely 20 MR. LAPP: Referring to Number 4.

2i with New York or Florida, whoever was looking at us for 21 THE DEPONENT: Noon 5. I've never seen

22 accreditation, we would meet first on our campus with 22 either of these before.

23 all of the -- a representative from every division. Sa 23 (By Ms. Goodwin) Okay.

24 if they bad specific questions about pharmacology, they 24 A Maybe. Okay.
25 would ask me. Pathology, Dr. Wilhcite or Dr. Pusch. 25 G Okay. Weil, XY am going -- what I want te do is talk

Page 55 Page 57

i And on and om. So the first thing was that, including 1 about some of the specific findings mada in the

2 student affairs. 2 California report, which I will reprasent to you is

3 Then we essentially appraised them of our academic 3 Exbibit 5, and just to find out your thoughts on their
4 program. They would go to a class. They went out to 4 findings specifically with regard to the Maine campus.
5 the Foundation for Blood Research which is in 5 All right. Ome of the findings af the California
6 Scarborough out here where we had a lab. They have a 6 report was that the Maine facility had a small

7 lab, and we wers invited to use that as part of our 7 microbiology lab?

6 teaching process, it's a world renowned research lah. g A Sorry, I missed --

9 It realiy is, I'm not just saying that because I was 4 Q California found that the Maine campus had a small

10 there. 20 microbiology lab, is that -- in your opinion, is that
qi And wea went to Maine Medical Center, introduced it true or false?

12 then bb the Chief of Medicine, Dr. Peter Hates at Maine 12 A We didn't have any microbiology lab. We don't nead a
i3 Medical. Went to -- at the end we went to St. Joseph's 13 microbiclogy lab.

14 and met Dr. Nesbitt who was head of the graduate 14 Okay.

15 education department at St. Joe's at that time. That's is A Io don't -- anyway. So no, I don't know what that's all
16 essentially what we do. 16 about.

17 We demonstrated -- then at the end, somawhere in l7 You said there's a lab in the main building; right?
ib there thay met with students that they picked. f think 18 A The lab we used was the Foundation for Blood Research
19 dt was Dr. Simon or one of those ladies that walked out 19 which was in Scarborough, which we hed to drive --
26 in the parking lot and just picked students at randem 20 studenta had to drive aut there. ‘That was not
21 between classes and said come in, have a seat. And go 21 microbiology. It was an immunology lab where we taught
22 they couldn't accuse me of hand picking the people that 22 them electrophoresis and the techniques for
23 aré going to say nice things because F said to them, | 23 chromatography and some population genetics, but it was
a4 find your own, and they ieft and did. So that was the 24 not what I would define as a microbiology effort.
25 process. a5 Microbiology was a third semester course down in

 

 

 

15 (Pages 54 to 57)
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I chief compiainta, ao forth, then you walk in and that 1
2 real person is Mr. DT. And you have to get a history 2
3 from him or har and do a physical. 3
4 So that was avery week in tha fifth samaster also. 4
5 So that might be thought of a# & lab. But basic 5 JAMES PRINGLE
6 acience labs ia only that ons in’ fourth semester. 6
7 Okay. pid you assist Daryl and/or Gail in answering q Subscribed and sworn to before me
8 interrogatoriss in this case, a pet of written a this day of , 2008.
a questions? 5
10 Say that -- I don’t ++ did sha write me any quagtions? 10
11 MR. LAPP: There's a set of written tW Notary Public
1z interrogatory answers. 32
13 MS. GOODWIN: I doen't have them. 13
14 MR. LAPP: We served in the case, 14
45 THE DEPONENT: No. 15
i6 MR. LAPP: I don't think you were invoived, 16
u MS. GOODWIN; I just didn't remember whether 17
48 he was on the list. I don't have it in front of ma. 1B
13 THE DEPONENT: I don’t know what you're 19
20 talking about. 20
23 MS, GOODWIN: Fair enough. aL
22 MR. LAPP: Okay. 22
23 MS. GOCDWIN: I think I'm done, give me two 23
24 minutes. a4
a5 (Recess at 10:47 a.m., to 10:53 a.m., after which the 25
Page 63 Page 65
1 follawing proceedings transpired.) 1 CERTIPICATE
2 (Sy Ms. Goodwin) Ware you aware that Bryan wag a 2 I, Cindy Packard, a Notary Public in and for
3 teaching assistant in Patient/Dector 47 3 the State of Maine, hereby certify that the
4 Yes. 4 within-named deponent was aworn to testify the truth,
5 Were you involved at all in the selection of teaching 5 the whole truth, and nothing but the truth in the
€ aunistents? 6 aforementioned cause of action.
3 No. 7 z further certify that this deposition was
6 Kara there any apacific requirements that a student bad 8 stenographically reported by me and later reduced to
3 te meat to be a teaching assistant? $ print through Computer-Aided Trans¢ription, and the
10 Had to pasa the course. io foregoing is a full and true record of the testimony
al That's ity 1k given by the deponent.
2 Shad a need for monsy. So Z maan a atudent cama and 22 I further certify that I am a disinterested
13 i ~
3 said, is theve any way I can -- you know, is there any person in the event or outcome of the above-named cause
14 of action.
ia job around here I can do, and they'd passed the coursa
15 IN WITNESS WHEREOF I subscribe my hand
is and tha teacher needad a TA, that was natural. No more
16 this of » 2608.
16 xigorous than that.
17 Dated at Palmouth, Maine.
13 Okay.
38
38 MS. GOODWIN: Those were my questions.
i3
13 MR. LAPP: Okay. We're ali set.
20
20 {At 10:52 a.m., the foregoing proceedings were
21
21 concluded.)
22
22 - eee
23 Notary Public
23
24 My Commisaion Expires
24
November 9, 2008
as
25

 

 

 

 

 

17 (Pages 62 to 65)
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